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   IT IS ORDERED as set forth below:



   Date: May 31, 2019

                                                                                                   _____________________________________
                                                                                                              Lisa Ritchey Craig
                                                                                                         U.S. Bankruptcy Court Judge

  _______________________________________________________________

                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

IN RE:                                                                       ) CHAPTER 7; Converted from CH 13 after
                                                                             ) hearing and judge’s order
CASSANDRA JOHNSON LANDRY,                                                    )
AKA CASSANDRA LANDRY,                                                        ) CASE NO. 18-55697-LRC
                                                                             )
           Debtor.                                                           )
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
----------------                                                            -- ---------------
                                                                             )
U.S. BANK NATIONAL ASSOCIATION, AS                                           )
TRUSTEE, FOR CITIGROUP MORTGAGE LOAN ) JUDGE: LISA RITCHEY CRAIG
TRUST INC., MORTGAGE PASSTHROUGH                                             )
CERTIFICATES, SERIES 2006-AR6 AS                                             ) CONTESTED MATTER
SERVICED BY JPMORGAN CHASE BANK,                                             )
NATIONAL ASSOCIATION,                                                        )
                                                                             )
           Movant.                                                           )
vs.                                                                          )
                                                                             )
CASSANDRA JOHNSON LANDRY,                                                    )
AKA CASSANDRA LANDRY,                                                        )
S. GREGORY HAYS, Trustee,                                                    )
                                                                             )
           Respondents.                                                      )
                                                                             )

                           ORDER GRANTING MOTION FOR RELIEF FROM STAY

           The Motion of U.S. Bank National Association, as Trustee, for Citigroup Mortgage Loan Trust

Inc., Mortgage Pass-Through Certificates, Series 2006-AR6 as serviced by JP Morgan Chase Bank,
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National Association, for itself, its successors and assigns (“Movant”) was filed July 24, 2018, [Doc. No.

44] regarding the real property located at and commonly known as 869 Natchez Valley Trace, Grayson,

Georgia 30017 (the “Property”) and was heard before Judge Hagenau on hearing August 28, 2018, upon

Notice of Assignment of Hearing Movant provided to each of the above-captioned parties in interest.

Motion for relief was resolved with an order by Judge Hagenau that was entered on August 30, 2018

[Doc. No. 63] instructing Debtor to make payments to the Chapter 13 Trustee starting September 7, 2018.

Chapter 13 Trustee shall file a report as to whether the Payments has been made timely and thereafter

shall file a report if Debtor fails to make timely Monthly Payments. On September 10, 2018, Chapter 13

Trustee has filed a Supplemental Report [Doc. No. 67] that Chapter 13 Trustee has reviewed the case and

reports to the court that Debtor has not complied with the direction of the Order. Debtor has made no

Payments since the hearing date of August 28, 2018.            The Chapter 7 has filed the Notice of

Abandonment on February 15, 2019 regarding this property.          Pursuant to Judge Hagenau’s Order,

Movant submits this Order.

        Therefore, it is hereby

        ORDERED that the 11 U.S.C. Section 362(a) automatic stay is modified to allow Movant to

assert its rights and remedies under applicable law as to the Property, including, but not limited to, the

institution and completion of foreclosure proceedings, collection of reasonable fees, and all other

equitable relief; provided, however, that upon completion of any foreclosure sale, any funds in excess of

the lawful amount owed to Movant under its Note and Security Deed, and to any subordinate lienholder

properly entitled to receive proceeds under applicable State Law as to the Property, shall be paid to the

Trustee for the benefit of the Estate. It is further

        ORDERED that Movant, at its option, is permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-bankruptcy law,

including loan modifications, deeds in lieu of foreclosure, short sales and/or any other potential loan

workouts or loss mitigation agreements. The entry of this Order does not absolve the Debtor of the duty to

file any necessary pleadings, amendments, or plan modifications that may be required with regard to such
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a loan modification. It is further

        ORDERED that the provisions of Bankruptcy Rule 4001(a)(3) are waived.


                                       [END OF DOCUMENT]


PREPARED AND PRESENTED BY:

  /s/ Heather D. Bock                          .
Heather D. Bock, GA Bar No. 122806
Attorney for Movant
McCalla Raymer Leibert Pierce, LLC
1544 Old Alabama Road
Roswell, Georgia 30076
Phone: 678-281-6444
Email: Heather.Bock@mccalla.com



NO OPPOSITION:

 /s/ S. Gregory Hays
__________________________________________
(by Heather D. Bock with express permission)
S. Gregory Hays
Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555
Atlanta, GA 30305
Phone: (404) 926-0051
Email: ghays@haysconsulting.net
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                                     DISTRIBUTION LIST


Cassandra Johnson Landry, Pro Se
869 Natchez Valley Trace
Grayson, GA 30017

Cassandra Johnson Landry, Pro Se
P.O. Box 1275
Grayson, GA 30017

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555
Atlanta, GA 30305
